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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                 CORPUS CHRISTI DIVISION

MARC VEASEY, et al,                                  §
                                                     §
                  Plaintiffs,                        §
VS.                                                  §                        CIVIL ACTION NO. 2:13-CV-00193
                                                     §
RICK PERRY, et al,                                   §
                                                     §
                  Defendants.                        §

      DEFENDANTS' FIRST AMENDED NOTICE OF DEPOSITION DUCES
               TECUM TO ORVILLE VERNON BURTON

To:      Counsel.

         Pursuant to the Federal Rules of Civil Procedure, the State of Texas, Rick

Perry, the Texas Secretary of State 1 and Steve McCraw ("Defendants"), by and

through the Attorney General for the State of Texas, give notice that they will take

the deposition by oral examination of Orville Vernon Burton, on August 14, 2014, at

9:00 a.m., and continuing thereafter as needed, at the Office of the Attorney

General, 209 West 14th Street, Austin, Texas.

         This deposition will be recorded by stenographic means, conducted before an

individual authorized to administer oaths, and used for any purpose permitted

under the Federal Rules of Civil Procedure or court order. The deposition may be

videotaped. The deposition will continue from time to time and place to place until

concluded.                             2:13-cv-193
                                                         exhibitsticker.com




                                       09/02/2014

                                      DEF0206

1
 Various complaints identify the Texas Secretary of State as John Steen. The current Secretary of State, however, is
Nandita Berry.
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         The above deponent is required to produce all documents in his possession,

custody or control used in preparation for this deposition, by August 12, 2014, and

as set forth in the attached Exhibit A.

Dated:         August 11, 2014



                                          Respectfully submitted,

                                          GREG ABBOTT
                                          Attorney General of Texas

                                          DANIEL T. HODGE
                                          First Assistant Attorney General

                                          JONATHAN F. MITCHELL
                                          Solicitor General

                                          J. REED CLAY, JR.
                                          Special Assistant and Senior Counsel
                                          to the Attorney General
                                          Southern District of Texas No. 1160600

                                          /s/ John B. Scott
                                          JOHN B. SCOTT
                                          Deputy Attorney General for Civil Litigation
                                          Southern District of Texas No. 10418
                                          Texas State Bar No. 17901500
                                          ATTORNEY-IN- CHARGE

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                                          STEPHEN RONALD KEISTER
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                                          Southern District of Texas No. 18580

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                                          Assistant Attorney General
                                          Southern District of Texas No. 224780


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                                COUNSEL FOR THE STATE OF TEXAS,
                                RICK PERRY, JOHN STEEN, and STEVE
                                MCCRAW




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                                     EXHIBIT A

                      DEFINITIONS AND INSTRUCTIONS

The following terms have the following meanings within the document requests and
within the instructions, unless the context requires otherwise:

1.     You & your. The terms "you" and "your" mean yourself and employees,
agents, representatives, attorneys, experts, and other persons acting or purporting
to act on your behalf.

2.    Document. The term "document" means information that is fixed in a
tangible medium, such as paper, or electronically stored information. It includes,
but is not limited to, writings, drawings, films, charts, photographs, notices,
memoranda, diaries, minutes, correspondence, books, journals, ledgers, reports,
worksheets, notes, printed e-mails, letters, abstracts, audits, charts, checks,
diagrams, drafts, instructions, lists, logs, resumes, and summaries.

3.     Electronically Stored Information. The term "electronically stored
information" means electronic information that is stored in a medium from which it
can be retrieved and examined. It includes, but is not limited to, all electronic files
that can be retrieved from electronic storage.

     a. "Electronic file" includes, but is not limited to, the following: electronic
documents; e-mail messages and files; and metadata.

      b. "Electronic information system" refers to a computer system or network
that contains electronic files and electronic storage.

       c. "Electronic storage" refers to electronic files contained on magnetic,
optical, or other storage media.

4.    Tangible thing. The term "tangible thing" means a physical object that is not
a document.

5.    Communication. The term "communication" means the transmittal of
information in the form of facts, ideas, inquiries, or otherwise.

6.    And & or. The connectives "and" and "or" should be construed either
conjunctively or disjunctively as necessary to bring within the scope of this
subpoena all responses that might otherwise be construed to be outside its scope.

7.     Federal Action. The term "Federal Action" means:

              a. Civil Action No. 2:13-cv-00193 [Lead Case] in the United States
       District Court for the Southern District of Texas, captioned Marc Veasey,

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   Jane Hamilton, Sergio Deleon, Floyd J. Carrier, Anna Burns, Michael
   Montez, Penny Pope, Oscar Ortiz, Koby Ozias, John Mellor-Crumley, Peggy
   Herman, Evelyn Brickner, Gordon Benjamin, Ken Gandy, League of United
   Latin American Citizens (LULAC), and Dallas County, Texas v. Rick Perry
   and John Steen;

          b. Civil Action No. 2:13-cv-263 [Consolidated Case] in the United
   States District Court for the Southern District of Texas, captioned United
   States of America; Texas League of Young Voters Education Fund, Imani
   Clark, and Michelle Bessiake; Texas Association of Hispanic         County
   Commissioners, Hidalgo County, and Maria Longoria Benevides v. State of
   Texas, John Steen, and Steve McGraw,

         c. Civil Action No. 2:13-cv-00291 [Consolidated Case] in the United
   States District Court for the Southern District of Texas, captioned Texas
   State Conference of NAACP Branches; and the Mexican American Legislative
   Caucus of the Texas House of Representatives v. John Steen and Steve
   McGraw; as consolidated with Case 2:13-cv-00193;

          d. Civil Action No. 2:13-cv-00348 [Consolidated Case] in the United
   States District Court for the Southern District of Texas, captioned Belinda
   Ortiz, Lenard Taylor, Eulalio Mendez Jr., Lionel Estrada, Estela Garcia
   Espinosa, Lydia Lara, Margarito Martinez Lara, Maximina Martinez Lara,
   and La Union Del Pueblo Entero, Inc. v. State of Texas, John Steen, and Steve
   McGraw.




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                                 DOCUMENTS

1. All documents and tangible things that you relied on to prepare for your
   testimony at the deposition.

2. All documents and tangible things containing facts or data, from whatever
   source, considered by you in the drafting of your expert report in the Federal
   Action.

3. All documents and tangible things containing facts or data, from whatever
   source, relied upon by you in the drafting of your expert report in the Federal
   Action.

4. If any document requested was, but is no longer, either in your possession,
   custody, or control, or in existence, state whether it: (a) is missing or lost; (b)
   has been destroyed; (c) has been transferred, voluntarily or involuntarily, to
   others; or (d) has been otherwise disposed of and explain the circumstances
   surrounding the disposition, and identify the names of those persons with
   knowledge of such circumstances.




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                        CERTIFICATE OF SERVICE
      I hereby certify that on August 11, 2014, a true and correct copy of the
foregoing document was served via electronic mail to all counsel of record.




                                   /s/ John B. Scott
                                   JOHN B. SCOTT




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